                              Facebook Business Record                                     Page 2605

                             Author
                                    Poppa Doc (100014025124898)
                               Sent 2017 -12-19 02 :02 :15 UTC
                               Body how many day shippin?

                             Author Ngeh Ndip (100011372670939)
                               Sent 2017 -12-19 01 :58 :14 UTC
                              Body Average prices fo r our products .. including shipping
                                     Oz... $320
                                    Qp .. .$615
                                    Hp ... $790
                                    P.. $1450
                                    Average prices for moon rocks Oz ... $350
                                    Qp ... $720
                                    Hp .. . $1100
                                    P.... $1900

                             Author Poppa Doc (100014025124898)
                               Sent 2017 -12-19 01:58 :13 UTC
                              Body what the purple urkle look like nd how much for Qp ?

                             Author Poppa Doc (100014025124898)
                               Sent 2017 -12-19 01:57:40 UTC
                              Body i can make a drop on sum this thursday ,

                             Author Ngeh Ndip (100011372670939)
                               Sent 2017-12-19 01 :57 :34 UTC
                              Body Some Strains available such as : *Afghan Kush Grade :: ::::: A+
                                    *Green Crack Grade :::::: :: AA Skywalker OG Kush Grade:::::: :: A+
                                    *sour Diesel Grade :::: ::::A+ Top Shelf *Grand Daddy Pu rple
                                    Grade:: :::: :: A *Sensi Star x ak47 Grade: ::::: :: AAA * Northern Lights
                                    #5 ::::::: :Grade: A+ *Lemon drop :Grade ::: ::::: A+ * Purple
                                    Kush: ::::: ::: Grade :A+ Top Shelf *OG Kush ::::: ::Grade:A++ Top
                                    * purple-urkle ::: :: ::: Grade:AA *Girl Scout Cookies:: ::::::Grade : A+
                                    * Blue Dream :Grade: ::::::: A+ * Bubba Kush Grade ::::: ::: A * Kandy
                                    Kush Grade::: ::: ::A * Mango Kush Grade :: :::::: A- * Blueberry Yum
                                    Yum Grade: ::::: :: Grade: A+ ++ nn * Death Star:Grade::::: ::: A+
                                    *Sour OG Kush Grade:: :: :::: A++ Top Shelf * Biuecheese
                                    Grade :::::::: A *Cali Orange Bud (C.O.B.):Grade :::: :::: A+ + * Super
                                    Silver Haze:Grade ::::: ::: A+ *White Rhino :Grade :::: :::: A+ * White
                                    Widow :Grade:: ::::: A+ * Pineapple Express Grade ::::::: A+++++
                                    * Blueberry Grade: ::: :: :A+

                             Author Ngeh Ndip (100011372670939)
                               Sent 2017 -12-19 01 :57 :13 UTC
                              Body where are you located and how soon you wanna make an orde r
                                    with ua?

                             Author Ngeh Ndip (100011372670939)
                               Sent 2017 -12-19 01 :56 :59 UTC
                              Body Okay bro thats no problem

                             Author Poppa Doc (100014025124898)
                               Sent 2017 -12-19 01 :56 :04 UTC
                              Body im t ryna shop wid yu DO. prices nd names ?

                             Author Ngeh Ndip (100011372670939)
                               Sent 2017-12-19 01:54:23 UTC




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                                                    Photo ld: 649011178821299




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                              Facebook Business Record                         Page 2603

                                            Type
                                                  image/jpeg
                                             Size 213825
                                             URL https ://attachment. fbsbx .com/messaging_attach
                                                  ment.php?aid=649011178821299&mid=mid .%2
                                                  4cAAAAA-Inw_lmncfdmlgbiJTRFZdN&uid=l0001
                                                  4025124898&accid = 1000 14025124898&previe
                                                  w=O&hash=AQAUOdnF _ylqCTA lWXYWCes_eAc
                                                  O_ptSHDyAUZQfiN30Vw




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                               Facebook Business Record                                Page 2602

                                Sent
                                     2017 -12-19 02:08 :09 UTC
                                Body once you taste that shit i swear you gonna come back for more
                                     products man

                              Author Pappa Doc (100014025124898)
                                Sent 2017-12-19 02 :07:39 UTC
                               Body didnt mean to call bra

                              Author Ngeh Ndip (100011372670939)
                                Sent 2017-12-19 02:07:34 UTC
                               Body all the products i sent to you those are the best products we have
                                     here bra

                               Author Pappa Doc (100014025124898)
                                 Sent 2017 -12-19 02:07:27 UTC
                          Call Record             Type phone
                                                Missed true
                                              Duration 0

                              Author Ngeh Ndip (100011372670939)
                                Sent 2017 -12-19 02:06 :58 UTC
                               Body yes you put ordeer thurs and receive the next day

                              Author Ngeh Ndip (100011372670939)
                                Sent 2017-12-19 02:06 :13 UTC
                               Body since all our pac kages are been sealed in a vacuum container
                                     which is very safe,secure and far reach from cops even trained
                                     dogs can 't get the smell of our package.

                              Author Pappa Doc (100014025124898)
                                Sent 2017 -12-19 02 :06 :08 UTC
                               Body ok thats great , whats your strongest most popular strand , i want
                                     to flood my city with the best

                              Author Ngeh Ndip (100011372670939)
                                Sent 2017 -12-19 02 :05 :22 UTC
                               Body we make sure ou r customers security comes first in everything we
                                     do.

                              Author Ngeh Ndip (100011372670939)
                                Sent 2017 -12-19 02:04 :53 UTC
                               Body also once you order with us we send to you a valid trac king
                                     number which you gonna use in tracking the package till it gets to
                                     your home add ress with no stress.

                              Author Pappa Doc (100014025124898)
                                Sent 2017-12-19 02:04:36 UTC
                               Body im ready do business asap , so i put my order in thurs. it be here
                                     fri?

                              Author Ngeh Ndip (100011372670939)
                                Sent 2017 -12-19 02 :04:01 UTC
                               Body our maximum hour of shipping is 48hhours

                              Author Ngeh Ndip (100011372670939)
                                Sent 2017 -12-19 02 :03:05 UTC
                               Body
                        Attachments image-649011178821299 (649011178821299 )



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                                                               Photo ld: 369239263222822


                             Author Poppa Doc (100014025124898)
                               Sent 2017-12-19 02 :15:18 UTC
                              Body i jus hit yu up bro

                             Author Ngeh Ndip (100011372670939)
                               Sent 2017-12-19 02 :12 :49 UTC
                              Body here is my number just send me a text so i can save up your
                                    number okay 17254004760

                             Author Ngeh Ndip (100011372670939)
                               Sent 2017-12-19 02:12:21 UTC
                              Body since its very safe and secure

                             Author Ngeh Ndip (100011372670939)
                               Sent 2017-12-19 02 :12:07 UTC
                              Body as for payment we do confirm all our payment via weste rn union
                                    ,moneygram,walmart to walmart or bitcoin

                             Author Ngeh Ndip (100011372670939)
                               Sent 2017-12-19 02 :11 :20 UTC
                              Body Okay bro then i will be waiting to read from you

                             Author Poppa Doc (100014025124898)
                               Sent 2017-12-19 02 :10:13 UTC
                              Body yea mix 3 for hp for me bro , all is well , then yu got guaranteed
                                    business wid me , nd i shop big DO

                             Author Ngeh Ndip (100011372670939)
                               Sent 2017-12-19 02 :09 :17 UTC
                              Body but i can mis 3 for HP

                             Author Ngeh Ndip (100011372670939)
                               Sent 2017-12-19 02 :09 :11 UTC
                              Body i can mix 5 or 6 good shits for a Pound

                             Author Ngeh Ndip (100011372670939)
                               Sent 2017-12-19 02 :08 :50 UTC
                              Body lol .. okay then when your ready am just gonna choose the best for
                                    you okay

                             Author Poppa Doc (100014025124898)
                               Sent 2017-12-19 02 :08 :23 UTC
                              Body damn yu got so much good shit im hveing hard time deciding

                             Author Ngeh Ndip (100011372670939)
                               Sent 2017-12-19 02 :08:21 UTC
                              Body because thats what my customes always do

                             Author Ngeh Ndip (100011372670939)




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                                 Facebook Business Record                             Page 2600

                                  Sent
                                         2017-12-17 23 :14:20 UTC
                                  Body cous

                                Author Antonio Ballard (100023187224944)
                                  Sent 2017 -12-17 22 :50:15 UTC
                           Call Record             Type phone
                                                 Missed false
                                               Duration 53

                                Author Antonio Ballard (100023187224944)
                                  Sent 2017-12-17 22 :49:03 UTC
                           Call Record             Type phone
                                                Missed true
                                              Duration 0

                                Author Antonio Ballard (100023187224944)
                                  Sent 2017 -12-17 22:48:35 UTC
                           Call Record             Type phone
                                                 Missed true
                                               Duration 0

                                Author Poppa Doc (100014025124898)
                                  Sent 2017-12-17 01:45:35 UTC
                                 Body yo

                                Author Poppa Doc (100014025124898)
                                  Sent 2017-12-17 01:45 :33 UTC
                                 Body You accepted Antonio's request.

                                Author Antonio Ballard (100023187224944)
                                  Sent 2017-12-16 20:01:40 UTC
                                 Body Antonio added you on Messenger.

                                Author Antonio Ballard (100023187224944)
                                  Sent 2017-12-16 20 :01 :37 UTC
                                 Body Bro



                Thread (589650714757346)
                               Current 2018-02-28 21 :19:27 UTC
                          Participants Ngeh Ndip (100011372670939)
                                         Poppa Doc (100014025124898)


                                Author Ngeh Ndip (100011372670939)
                                  Sent 2017-12-19 02:15 :55 UTC
                                 Body
                          Attachments sticker (369239263222822)
                                                  Type image/png
                                                   Size 0
                                                   URL https ://attachment. fbsbx. com/messaging_attach
                                                          ment.php?aid=369239263222822&mid=mid .%2
                                                          4cAAAAA-Inw_lmndOcHigbi510FPHT&uid=10001
                                                          4025124898&accid= 1000 14025124898&previe
                                                          w=O&hash=AQCRg8QoUP5yj81-0ydi5NXFv694_b
                                                          53j_HSLOCXd6RCgw




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                                       ''

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       Service    Facebook
        Target    100002079344836
    Generated     2018-02-28 21:12 :17 UTC
   Date Range     2004-01-01 00 :00:00 UTC to 2018-02-12 23 :59:59 UTC
       NCMEC
     Cybertips


         Name                  First Ngm
                             Middle Doc
                               Last Dinero



    Registered tez .l.allen@faceboo k.com
         Email allenmontez@rocketmail.com
    Addresses neka123194@gmail.com


  Vanity Name tez .l.allen


  Registration 2011 -02-18 02 :50 :02 UTC
         Date


Registration lp


      Account        Account Still true
  Closure Date            Active



       Address             Street
                             City
                            State
                              Zip
                          Country



  Current City Charlotte, North Carolina (105715936129053)


        Phone     +1434 7093550 Cell Unverified
      Numbers     +14344290733 Cell Unverified
                  +1434 7108880 Cell Unverified
                  +17046521216 Cell Unverified
                  +14344294221 Cell Verified
                  +14342032945 Cell Unverified
                  +14344296521 Cell Verified

  Credit Cards


        PayPal
      Accounts




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                                      Facebook Business Record                                Page 1049

               Message
                         -.Xant sleep DO

                   Time 2016-08-03 04:00:17 UTC
                  Story Ngm Doc Dinero shared Wuantia Razha 'ee Brandon's photo.

                  Time 2016-08-02 23 :00:54 UTC
               Message Hya

                   Time 2016-08-02 22:17:07 UTC
                  Story Ngm Doc Dinero shared Ree Tucker's post.

                  Time 2016-08-02 22 :03 :51 UTC
               Message -.If dats yo b* i been fxkd yo b*, i think about   MODtimes   !!DODD

                  Time 2016-08-02 21 :25 :46 UTC
               Message -.The nigga Billy Smooth xomplixated as ah mf trynna do ah applixation DODDOD

                   Time 2016-08-02 21:01:54 UTC
                  Story Ngm Doc Dinero shared johnny Deng 's post.
               Message -. I always look out for my niggaz who tryna get paid ODD #GoGetTheMoneyNigga!!ODODDODD

                   Time 2016-08-02 20:58 :33 UTC
                  Story Ngm Doc Dinero shared johnny Deng 's post.

                   Time 2016-08-02 20 :38:25 UTC
                  Story Ngm Doc Dinero was mentioned in a post.

                   Time 2016-08-02 20:25 :34 UTC
                  Story Ngm Doc Dinero updated his status.

                  Time 2016-08-02 18 :30 :02 UTC
               Message -.Beefin ah broke sport, tell me whats the logi x DO

                   Time 2016-08-02 18:18:11 UTC
                  Story Ngm Doc Dinero shared Tayniqua Zhane ' Keen 's post.

                  Time 2016-08-02 18:16:11 UTC
               Message -. ill neva refuse dem xounty xalls, no matter what time my shid ring in, xaus i kno how
                          dat shid feel   DO   #NLMBOD

                  Time 2016-08-02 17:29:59 UTC
               Message -. lma RR blood nd these niggaz xounte rfeit DDODDDDD

                  Time 2016-08-02 15:44 :03 UTC
               Message -.Talk tuft get hit in yo stuff bitxh im from 60doubleOD!!

                   Time 2016-08-02 15:42 :48 UTC
                  Story Ngm Doc Dinero was with Shinna jai.

                   Time 2016-08-02 15 :37:27 UTC
                  Story Ngm Doc Dine ro shared Wayne Perry's post.

                   Time 2016-08-02 14:43:20 UTC
                  Story Ngm Doc Dinero shared Bryson B'Nard Claiborne 's post.

                  Time 2016-08-02 13:27 :03 UTC
               Message -.This bitxh all way in Missouri nd poppin shid DODO. foh DO
                                                                                                 '   GOVERNMENT~
                                                                                                 ;~ ~HIBIT ~

                                                                       IJ.f 521
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                              Facebook Business Record                              Page 8863

                                                              Photo ld:
                                                                          1106222909457010




                             Author Benjii jones (100001322710975)
                               Sent 2016-08-29 22:25:47 UTC
                              Body You got a pic

                             Author Ngm Doc Dinero (1 00002079344836)
                               Sent 2016-08-29 22:25 :15 UTC
                              Body my xousin got ah 22 rifle yu xan get for 100

                             Author Benjii jones (100001322710975)
                               Sent 2016-08-29 22 :23:58 UTC
                              Body Bruh you kn ow anybody selling a gun from 50-100

                             Author Benjii jones (100001322710975)
                               Sent 2016-08-28 07:55 :38 UTC
                              Body Bruh your bro good

                             Author Ngm Doc Dinero (100002079344836)
                               Sent 2016-08-0119 :29 :15 UTC
                              Body north hills , just hmu

                             Author Benjii jones (100001322710975)
                               Sent 2016-08-01 19 :28 :11 UTC
                              Body Bet where you going to be at bruh I'll match something with you if
                                    yay trying to

                             Author Ngm Doc Dinero (1 00002079344836 )
                               Sent 2016-08-01 19:26:48 UTC
                              Body 4347284646, ball him up

                             Author Benjii jones (100001322710975)
                               Sent 2016-08-01 19:25 :46 UTC
                              Body Me and yay going to get it

                             Author Ngm Doc Dinero (100002079344836)
                               Sent 2016-08-01 19 :25 :10 UTC
                              Body hell yea , he hmu nd thought it was mine   DO
                             Author Benjii jones (100001322710975)
                               Sent 2016-08-01 19:23:38 UTC
                              Body Yea lol

                             Author Ngm Doc Dinero (100002079344836)
                               Sent 2016-08-01 19:23:26 UTC
                              Body that boost mobile key ?

                             Author Benjii jones (100001322710975)
                               Sent 2016-08-01 19 :19:41 UTC
                              Body Bruh mark got my key

                             Author Ngm Doc Dinero (1 00002079344836)
                               Sent 2016-07 -29 15 :26 :57 UTC                          • GOVERNMENT      ~
                                                                                        ~~     EXHIBIT    -
                                                                                        ~      y         . .~
                                                                      ~- ,g(L/'L
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Case 4:18-cr-00012-MFU-RSB Document 166-1 Filed 08/30/18 Page 10 of 34 Pageid#:
                                     523
                             Facebook Business Record                                Page 8861

                                                               Photo ld:
                                                                           1106224589456842


                            Author Benjii jones (100001322710975)
                              Sent 2016-08-29 22:28:06 UTC
                             Body That's the only thing he got

                             Author   Ngm Doc Dinero (10 0002079344836)
                               Sent   2016-08-29 22:27:25 UTC
                                 IP   66.87 .75 .71
                              Body
                       Attachments    image-110622290945 7010 (110622290945 7010)
                                                Type image/jpeg
                                                 URL https ://attachment. fbsbx .com/messag ing_attac h
                                                     ment. php?aid = 110622290945 70 10&mid=mid.1
                                                     4 72509645040%3A62fecd 14a 14 7 354e3 7 &u id=
                                                     1000020 79 34483 6&acc id = 100002 0 79 344836&
                                                     preview=O&hash=AQBvCGEZBK6NPO xcepeh3a
                                                     QdS8ehlnsqtH4t41xuKjKhZg




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                                     524
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                                     525
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                                     526
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                                                              Photo ld:
                                                                          1106225562790078




                            Author Benjii jones (100001322710975)
                              Sent 2016-08-29 22:31:33 UTC
                             Body He don 't got no hand gun

                            Author Benjii jones (100001322710975)
                              Sent 2016-08-29 22:31:13 UTC
                             Body Bet

                            Author Ngm Doc Dinero (100002079344836)
                              Sent 2016-08-29 22 :31:01 UTC
                             Body dnt send datto nobody else bro, xaus my xousin got them off ah
                                   jugg

                             Author   Ngm Doc Dinero (100002079344836)
                               Sent   2016-08-29 22:30 :32 UTC
                                 IP   66.87 .75.71
                              Body
                       Attachments    image-1106224589456842 (1 106224589456842)
                                                Type image/jpeg
                                                 URL https ://attachment. fbsbx. com/messaging_attach
                                                     ment.php?aid = 1106224589456842&mid =mid .1
                                                     4 72509832 753 %3A525cf4d828616eeaOO&uid=
                                                      100002079344836&accid= 100002079344836&
                                                      preview=O&hash=AQAgKUjH I7WHHdfAA_saHXN
                                                     akyoMcrv8cGq2Pgq1ZtcNBg




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                                     527
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                                     528
                              Facebook Business Record                               Page 8857

                              Body
                                      Kwest bruh

                            Author Ngm Doc Dinero (100002079344836)
                              Sent 2016-08-31 00 :52 :57 UTC
                             Body who my man bruh

                            Author Benjii jones (100001322710975)
                              Sent 2016-08-31 00 :52 :34 UTC
                             Body Ya man ran my sh it for a hun for a pool bruh can you tal k to him

                            Author Ngm Doc Dinero (100002079344836)
                              Sent 2016-08-31 00 :51:43 UTC
                             Body na wassup

                            Author Benjii jones (100001322710975)
                              Sent 2016-08-31 00:51:29 UTC
                             Body Bruh you heard bout what happen to me

                            Author Ngm Doc Dinero (100002079344836)
                              Sent 2016-08-31 00 :50 :57 UTC
                             Body wass poppin

                            Author Benjii jones (100001322710975)
                              Sent 2016-08-31 00:50 :47 UTC
                             Body Bruh

                            Author Benjii jones (100001322710975)
                              Sent 2016-08-29 22 :34:35 UTC
                             Body Oh damn

                            Author Ngm Doc Dinero (100002079344836)
                              Sent 2016-08-29 22:32:53 UTC
                             Body i forgot it in my girls renta l ,

                            Author Ngm Doc Dinero (100002079344836)
                              Sent 2016-08-29 22 :32 :07 UTC
                             Body hell na had that joint but i got to get it bak

                            Author Benjii jones (100001322710975)
                              Sent 2016-08-29 22:32 :03 UTC
                             Body How much

                             Author   Ngm Doc Dinero (100002079344836)
                               Sent   2016-08-29 22:31 :53 UTC
                                 IP   66 .87 .75 .71
                              Body
                       Attachments    image-1106225562790078 (1106225562790078)
                                                Type image/jpeg
                                                 URL https:/ /attachment. fbsbx. com/messag ing_attach
                                                     ment. php?aid = 1106225562 790078&mid=mid .1
                                                     4 72509913266%3Adfb61af3095fa42981&uid= 1
                                                     00002 07 9344836&accid = 100002 0 79 34483 6&p r
                                                     eview = O&hash =AQC4Rsa LKuVBOAtmseu P4CnC
                                                     DHnGj819bYVQBUSdk5534g




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                                     529
                                     Facebook Business Record                                  Page 1001

                  Time
                      2016-09-11 19 :17 :39 UTC
              Message -.I done went to church for the first t ime in ah xouple weeks nd now im tryna get
                         biblical wid ppl   DO

                 Time 2016-09-11 18:58 :55 UTC
                 Story Ngm Doc Dinero updated his status.
              Message -.1m tryna typ normal, but i hvent used ah C in so long, its like i just cant hit that
                         letter, but dat blood typin shi d dead , im gettin too old but niggaz already kno what im
                         bangin ODDDDD•

                 Time 2016-09-1118 :54 :57 UTC
                 Story Ngm Doc Dinero shared Nitaya Adams 's post.

                 Time 2016-09-1118:54 :47 UTC
                 Story Ngm Doc Dinero shared J. Holiday's photo.

                 Time 2016-09-11 18:48:23 UTC
                 Story Ngm Doc Dinero shared jerrod D. Motley's post.

                 Time 2016-09-11 18:48:08 UTC
                 Story Ngm Doc Dinero was mentioned in a post.

                 Time 2016-09-1117:5 1:34 UTC
                 Story Ngm Doc Dinero was mentioned in a post.

                 Time 2016-09-11 17 :20 :05 UTC
                 Story Ngm Doc Dinero shared HeadHuncho Keene 's post.

                 Time 2016-09-11 16 :56:45 UTC
                 Story Ngm Doc Dinero shared Shakee Da 'juon's post.

                 Time 2016-09-1116 :52 :12 UTC
                 Story Ngm Doc Dinero shared Tariq Montana 's post.

                 Time 2016-09-11 16:45 :02 UTC
              Message -.Bible says xum as yu are , but i guess my sister thin k otherwise DODD

                  Time 2016-09-11 16:05 :13 UTC
                  Story Ngm Doc Dinero shared Gun Fanatics 's photo.

                  Time 2016-09-1116 :04:31 UTC
                  Story Ngm Doc Dinero shared Kaufman Hollywood 's photo.

                  Time 2016-09-1116:02 :18 UTC
                  Story Ngm Doc Dinero shared BV Swirl 's post.
              Message -.Faxts DO

                  Time 2016-09-1116:01 :12 UTC
                  Story Ngm Doc Dinero shared Cookie Lyon Quotes 's photo.

                  Time 2016-09-11 15 :45 :02 UTC
                  Story Ngm Doc Dinero shared Eric Cole 's post.

                  Time 2016-09-11 15 :40 :03 UTC
                  Story Ngm Doc Dinero and Eric Cole are now friends.

                 Time 2016-09-11 15 :30:31 UTC
              Message -.Otw to xhurxh DDDDDD




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                                     530
                                     Facebook Business Record                                    Page 946

                 Story
                         Ngm Doc Dinero shared Pleasure P's photo.

                  Time 2016-10-22 04 :01 :30 UTC
                 Story Ngm Doc Dinero shared William Sewell 's photo .

                  Time 2016-10-22 03 :26 :15 UTC
                 Story Ngm Doc Dinero shared E Simone Mua's post.
              Message -.Mfs is dumb ash b DO

                  Time 2016-10-22 03:24 :07 UTC
                 Story Ngm Doc Dinero shared Darius Dwade Birks 's post.
              Message -. iSTG   !!ODDDDDDD
                  Time 2016-10-22 02:06 :27 UTC
                 Story Ngm Doc Dinero shared Kdarius West's post.

                 Time 2016-10-22 01 :12 :00 UTC
              Message -.If the opposition bust at me, ima bust bak    DODD
                  Time 2016-10-22 01 :10:25 UTC
                 Story Ngm Doc Dinero shared Herbert Wright's photo.

                  Time 2016-10-22 01:01:42 UTC
                 Story Ngm Doc Dinero shared Trina 's photo.

                  Time 2016-10-22 01:01:07 UTC
                 Story Ngm Doc Dinero shared Scrilla King 's photo.

                  Time 2016-10-22 01:00 :37 UTC
                 Story Ngm Doc Dinero shared Crystal Michelle Harris's post.
              Message -. Put C out for later DO

                 Time 2016-10-22 00 :48 :04 UTC
              Message -. Giox 23 , dats ah .40 wid hollows n i keep it on me like ah letterman   DO
                  Time 2016-10-22 00 :43 :35 UTC
                 Story Ngm Doc Dinero shared Desharea Thom as 's post.

                  Time 2016-1 0-22 00 :00:43 UTC
                 Story Ngm Doc Dinero shared janea Hairston 's post - with Kris MacPrice and Melvina
                         Hairston.

                  Time 2016-10-21 23 :52 :19 UTC
                 Story Ngm Doc Dine ro shared Infamous D's photo.

                 Time 2016-10-21 23 :13 :44 UTC
              Message -.Aint got to prove yourself wen niggaz kno who yu are    DO
                  Time 2016-10-21 23 :11:11 UTC
                 Story Ngm Doc Dinero shared Chevy Mcmillian's photo.

                 Time 2016-10-21 23 :10:55 UTC
              Message -.i hate fxk shid ! DO

                  Time 2016-10-21 22 :42 :35 UTC
                 Story Ngm Doc Dinero shared La Mecca Williams 's post.

                  Time 2016-10-21 20:50 :54 UTC




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                  Time
                       2016-11-07 23:48 :55 UTC
                 Story Ngm Doc Dinero updated his status.

                 Time 2016-11-07 23:37 :48 UTC
              Message -.These niggaz be stressin , thes hoes be messy nd ion be givin ah fck DDDDDD

                 Time 2016-11-07 23 :30:11 UTC
              Message -.Hoi up bitxh get ya mind right, dnt tlk me like ima child ! DO

                 Time 2016-11-07 20 :35:53 UTC
              Message -.What ever happen to "Puff Puff Pass" niggas wanna hit the blunt, post ah fb stat,
                      check they DMs , make 30 snaps , then wait till the blunt go out nd try to pass it , mfs
                      be killin me DO

                 Time 2016-11-07 16 :37 :33 UTC
                 Story Ngm Doc Dinero shared Foo Pratt's post.
              Message -.DODDDD

                 Time 2016-11-07 04 :24:42 UTC
              Message -.They hating fck it , tax em !

                 Time 2016-11-07 03 :57:50 UTC
                 Story Ngm Doc Dinero updated his cover photo .

                 Time 2016-11-07 02 :23:47 UTC
                 Story Ngm Doc Dinero shared Mya Gabrielle's post.
              Message -.Why tf did i read that hoi thing first try DO

                 Time 2016-11-07 01 :44 :33 UTC
                 Story Ngm Doc Dinero shared Meya Chuntale 's post.

                 Time 2016-11-07 00 :44 :32 UTC
                 Story Ngm Doc Dinero shared BigRioo DaMenace 's post.

                 Time 2016-11-06 19:35:41 UTC
                 Story Ngm Doc Dinero was tagged in a photo.

                 Time 2016-11-06 16:51:02 UTC
              Message -. Dnt hurt yourself trynna hurt me DO

                 Time 2016-11-06 08 :48:05 UTC
              Message -.i been smaxkd sinxe i got off wrk DDDDDDDDD

                 Time 2016-11-05 22 :23:35 UTC
                 Story Ngm Doc Dinero shared Alana Monique's photo.
              Message -.Tayniqua Zhane ' Keen

                 Time 2016-11-05 21 :15:25 UTC
              Message -.1m shootin dice wid da bloods nd sellin dope w/ da xrips ODDDDDDDDD

                  Time 2016-11-05 20 :37 :23 UTC
                  Story Ngm Doc Dinero shared Waka Flocka Flame's photo .

                 Time 2016-11-05 20:20:08 UTC
              Message -. In this life dat im living I prayDODD I make it thru the night DODD

                  Time 2016-11-05 15:56 :44 UTC
                  Story Ngm Doc Dinero updated his status.



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                  Time
                         2016-11-28 19:25 :16 UTC
                 Story Ngm Doc Dinero and Kyana McMoore are now friends.

                  Time 2016-11-28 16:29:37 UTC
                 Story Ngm Doc Dinero and Tanika Calloway Adkins are now friends .

                  Time 2016-11-28 05:42 :01 UTC
                 Story Ngm Doc Dinero updated his status .
              Message -.Get off early this week DO

                 Time 2016-11-28 05 :32:20 UTC
              Message -.Fck it since my main wanna fight, im not gon argue tonight, yu good shordy yu right
                      MODOD

                 Time 2016-11-28 05 :06:50 UTC
              Message -.Xaus im 19 shid dnt mean ah thing, on Milia aint no temptin me, bitxh its MURDER,
                      all my niggaz play for keeps DO

                  Time 2016-11-28 04:52 :43 UTC
                 Story Ngm Doc Dinero and Zoey LA Via are now friends .

                  Time 2016-11-28 04:49 :50 UTC
                 Story Ngm Doc Dinero shared RexkAve Keb 's post.
              Message -.use toDD

                  Time 2016-11-28 04 :48:53 UTC
                 Story Ngm Doc Dinero shared Tariq Montana's post.

                 Time 2016-11-28 04:41:26 UTC
              Message Name I got: Tayniqua Name In My Phone? My Shordy DDDDDDDD• DD Ever Fucked DO? Every
                      time i get ah chance Wanted To Fuck DO? Weneva i view ha Kissed DO ? Every second
                      First Met DO ? Thru Myisha nd Snap Favorite Memory ? the weekend in the boro In Love
                      • ? i think Rate DO ? BMS DO Would We Been In Relationship DO ? Already in one Secret I
                      Have To Tell You DO ? i tell ha errthing Do We Conversate ? duhh Do I Miss You ?
                      weneva im at work or she isnt around Where Do We Stand ? In ah long relationship
                      How I Feel About You ? Oats my bby nd ill do anything for her DDDDDD Comment "DO" for a
                      name .

                  Time 2016-11-28 04:32 :03 UTC
                 Story Ngm Doc Dinero updated his profile video.

                  Time 2016-11-28 03 :58 :36 UTC
                 Story Ngm Doc Dinero and Desiree Wilson are now friends .

                 Time 2016-11-28 03 :46 :59 UTC
              Message First thing that comes to my mind when I hear your name .. .. PLEASE COM MENT YOUR
                      NAME or SOMEBODY 000000 Don 't get mad DO

                 Time 2016-11-28 03 :34:50 UTC
              Message -.Name I got :Tee H Name In My Phone ? N/a Ever Fucked DO ? Yea Wanted To Fuck DO ?
                      Yea Kissed DO ? Yea First Met DO ? lnstagram i believe Favorite Memory ? N/a In Love DO ?
                      Na Rate DO ? 7 Would We Been In Relationship DO ? Doubt it Secret I Have To Tell You DO
                      ? N/a Do We Conversate? rarely Do I Miss You ? Na Where Do We Stand ? friends How
                      I Feel About You ? aint nun Comment "DO" For A Name

                 Time 2016-11-28 03 :25:31 UTC
              Message Name I got : jazmiah Name In My Phone ? Not in ther Ever Fucked DO ? Na Wanted To
                      Fuck DO ? b4 Kissed DO ? na First Met DO ? Skool Favorite Memory ? Wen i slid ova to cop
                                                                                                   •   GOVERNMENT~
                                                                        ~ EXHIBIT ~
                                                                        ~
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                 Story
                      Ngm Doc Dinero shared P00k Pook·l Pookie 's post.
              Message -.If yall dnt get this dumb ass question tfoh DDDDDD Of course i want all my nigga z eatin
                      DDDDd'DD

                 Time 2016-12-29 06 :52 :40 UTC
                 Story Ngm Doc Dinero updated his current city to Charlotte, North Carol ina .

                 Time 2016-12-29 06 :52 :40 UTC
                 Story Ngm Doc Dinero added Danville, Vi rginia as his hometown.

                 Time 2016-12-29 06 :38 :13 UTC
              Message -. IJFLISRANISWTL DDDDDD

                  Time 2016-12-29 06 :35 :36 UTC
                  Story Ngm Doc Dinero was mentioned in a post.

                  Time 2016-12-29 06 :25 :53 UTC
                  Story Ngm Doc Dinero shared janae Shauntel 's post.
              Message -.What G Herbo say " Let me show you how the gangsters do it ,I know you t ryna get
                      it off, Turn the Bryson Tiller off, let me fuck you to this gangster musicDD"

                 Time 2016-12-29 06 :19:13 UTC
              Message -.Yall older females, got these Iii girls out here thinkin sendin nudes n sh id cute, Iii a ~ s
                      girls aint had dey first period but tryna sho yall what Iii bit dey do gotDDDDd', shid not
                      cute nd yu older ones needa show more respext fo r yal damn self, while ya l out hea
                      tryna coach these Iii ass girls on doi n dat non sense DODD

                 Time 2016-12-29 05 :44 :55 UTC
              Message -.DO

                 Time 2016-12-29 05 :24:05 UTC
              Message -.Shid jus pissd me all the way off DO ready gts until i can come up wid ah master plan
                      DO

                 Time 2016-12-29 04:25 :56 UTC
              Message -.It aint ah dream its really what it seem, godta get that mullahDD before yu end up
                      onna tee DO

                  Time 2016-1 2-29 04 :23:03 UTC
                  Story Ngm Doc Dinero was mentioned in a post.

                  Time 2016-12-29 04:19 :51 UTC
                  Story Ngm Doc Dinero shared Hoodrich Sancho's post.

                  Time 2016-12-29 04 :01 :03 UTC
                  Story Ngm Doc Dinero shared Yfn Quise 's post.
              Message -.Ayeeee yoo if this aint my brotha Trill , idk what is DDDDDDDDDDDD

                 Time 2016-12-29 03:59 :47 UTC
              Message -. Remember posted on block , ready for the war DO #70000

                 Time 2016-12-29 03 :47:52 UTC
              Message -.i hate ah dick rider DO

                  Time 2016-12-29 03:41:26 UTC
                  Story Ngm Doc Dinero shared Trina 's photo.

                  Time 2016-12-29 03 :39:15 UTC
                                                                                                        I   GOVERNMENT !<:l
                                                                                                        ~~    EXHIBIT ~
                                                                                                        ~~        1     ~
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              Message
                         -.!!DO
                  Time 2017-03 -1 8 22 :53 :23 UTC
                 Story Ngm Doc Dinero shared Mark Ferrell 's post.

                  Time 2017-03-18 19:31 :52 UTC
                  Story Ngm Doc Dinero was mentioned in a post.

                  Time 2017-03-18 16:38:06 UTC
                  Story Ngm Doc Dinero was tagged in a post.

                  Time 2017-03-18 16:33 :11 UTC
                 Story Ngm Doc Dinero shared a memory.

                  Time 2017-03 -18 13 :17:11 UTC
                 Story Ngm Doc Dinero was mentioned in a post.

                  Time 2017-03 -18 10:06:33 UTC
                 Story Ngm Doc Dinero was mentioned in a post.

                 Time 2017-03-18 06 :58 :02 UTC
              Message -.DDDDo"DDDDd'DDDDd'

                  Time 2017-03-18 06 :40 :45 UTC
                 Story Ngm Doc Dinero shared Nicholas Hairston's post.
              Message -.I fw wid Pushers    ODD. just not ah fan   of CMG , but yall boys keep eatin, by any means
                         DDDDDD
                 Time 2017-03-18 06 :32 :55 UTC
              Message -.Wanted to roll up ah 3.5, but all i have is ah HD DO

                 Time 2017-03-18 06 :28 :06 UTC
              Message -.1 hustle like im still hurtin'   DO
                 Time 2017-03-18 06:20 :33 UTC
              Message -. Went to sheetz dat bitch was lit li ke it was ba k in 2015 early 2016 DO

                 Time 2017-03-18 06 :19 :40 UTC
              Message -.001 get it in, then get it gone today ! DDDDDDDDD

                 Time 2017-03-18 04 :49 :53 UTC
              Message -.Who tryna ma ke sum gas money         DO
                 Time 2017-03 -18 04 :13 :14 UTC
              Message -.Only advice i got for my young niggas is "dnt get caught " DO

                 Time 2017-03-17 19:50:26 UTC
              Message -. It dnt matter wher i go godta ta ke the heat, even if that mean im goin to hell. dey
                      aint ta kin me ! DO

                  Time 2017-03-17 18 :50 :45 UTC
                 Story Ngm Doc Dinero updated his status.
              Message -. Yu say yu get money? , i get it to ! DDDDDD

                  Time 2017-03-1717 :55 :32 UTC
                 Story Ngm Doc Dinero was mentioned in a post.

                  Time 2017-03-1717 :08 :06 UTC




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                  Story
                          Ngm Doc Dinero was tagged in a post.

                 Time 2017-05-21 15 :36 :06 UTC
              Message -.I sat ther n waited for niggas to help me, all that tl kin they did , them niggas aint
                      show it DODD

                  Time 2017-05-21 15 :23 :42 UTC
                  Story Ngm Doc Dinero updated his cover photo.

                  Time 2017-05-21 15 :08 :52 UTC
                  Story Ngm Doc Dinero and Scrapp Rollxn are now fri ends.

                 Time 2017-05 -21 15 :08 :46 UTC
              Message -.Aint doin shid wid this money, might come buy ya team up caus yu cant feed em
                          DO ODd'
                 Time 2017-05 -2115:03:42 UTC
              Message -.Free that boy West man, keep yo head up while yu in dat jam G DOD. Sumbody hit me
                      next time he call DO

                 Time 2017-05-2115:01:36 UTC
              Message -. No we dnt do police No we dont name names DDDDDDd'

                  Time 2017-05-21 14:56 :47 UTC
                  Story Ngm Doc Dinero shared Corinthian Dudley 's post.

                  Time 2017-05-21 14:52 :42 UTC
                  Story Ngm Doc Dinero shared La Mecca Williams 's post.
              Message -. Lil Sis finally did it DO

                  Time 2017-05-21 14:39:07 UTC
                  Story Ngm Doc Dinero and Xayto Ven are now friends .

                  Time 2017-05 -21 14:36 :14 UTC
                  Story Ngm Doc Dinero shared a memory.
              Message -. Lmao stupid old throwback     DO
                  Time 2017-05-21 14:30:04 UTC
                  Story Ngm Doc Dinero and Rico Metts are now friends.

                  Time 2017-05-21 03 :01 :54 UTC
                  Story Ngm Doc Dinero shared Alleyboy Lyl 's post.

                 Time 2017-05-20 21 :17 :39 UTC
              Message montez such a gentlemen y'all DO

                 Time 2017-05-20 20:47 :02 UTC
              Message -.Slushy in the cup wid Codein on it DODD

                  Time 2017 -05 -20 19 :20 :40 UTC
                  Story Ngm Doc Dinero was mentioned in a post.

                  Time 2017-05 -20 17 :33 :12 UTC
                  Story Ngm Doc Dinero shared Ania Thomas 's post.

                  Time 2017-05 -20 17:21:42 UTC
                 Story Ngm Doc Dinero shared Rashon Howerton's post.




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                  Time
                         2017-05-26 13 :12 :31 UTC
                 Story Ngm Doc Dinero was tagged in a post.

                  Time 2017-05-26 05 :32 :53 UTC
                 Story Ngm Doc Dinero was tagged in a post.

                 Time 2017-05-25 23 :39 :21 UTC
              Message -.Lmaooo, Nope, Nope, Nope, cant do kids, dat crying been made me gave that mf
                         away   DDDDDDDD
                 Time 2017-05-25 23:32 :29 UTC
              Message -.Yu lean the pot and scrape the bowl nyu get Doc DO

                  Time 2017-05-25 23 :23 :58 UTC
                 Story Ngm Doc Dinero was tagged in a post.

                  Time 2017-05-25 23 :21:02 UTC
                 Story Ngm Doc Dinero was tagged in a post.

                  Time 2017-05-25 23 :13 :06 UTC
                 Story Ngm Doc Dinero was tagged in a post.

                 Time 2017-05-25 22 :31 :56 UTC
              Message -. Face breakin out like ah mf DDOOd'

                  Time 2017-05-25 22 :29 :33 UTC
                 Story Ngm Doc Dinero shared a memory.

                  Time 2017-05-25 22:28:43 UTC
                 Story Ngm Doc Dinero shared a memory.
              Message    -.DODD
                  Time 2017-05-25 22 :28:24 UTC
                 Story Ngm Doc Dinero shared a memory.

                  Time 2017-05-25 22 :01 :21 UTC
                 Story Ngm Doc Dinero and Adam Fitzgerald are now friends.

                 Time 2017-05-25 21 :19:32 UTC
              Message -.Jon touch the dope like it got rabies DO

                  Time 2017-05-25 20 :45 :15 UTC
                 Story Ngm Doc Dinero shared CokeBoy Carey's post.

                  Time 2017-05-25 19 :15 :39 UTC
                 Story Ngm Doc Dinero shared Bucks Tucker's post.
              Message    -.DODD
                 Time 2017-05-25 12 :38 :36 UTC
              Message -.Wen yu dnt got service at work , but Wifi in the bathroom    DDDDDDDD
                  Time 2017-05-25 05 :18:02 UTC
                 Story Ngm Doc Dinero was mentioned in a post.

                 Time 2017-05 -24 20 :31:51 UTC
              Message -.Aint nobody tell yall shoot all t hem bullets and not hit nun, then yu wud nt have to
                         worry bout if that man snitch in or not   DDOOd'DODO




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                 Ngm Doc Dinero                                                             v
                 1 hr · .II

       -.' Whateva dey wanna do we xan do it , if it aint bout dat
       money ion get into it,                                       , dats how i get into it



               •• Like                                Comment                  ,+   Share


           1

                 Amber Buckner
                 You really need to· learn how to spell no one thinks
                 that's cool.
                 54 mi u es ago · Unlike ·                      1 · Reply

                          Tayniqua Zhane• Keen
                          and you didn't have too comment, carry on


                              Ju      no   J •   Like · Reply

                                   rite a reply ...




       •       Write a comment. ..

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